     Case 2:11-cr-02129-EFS    ECF No. 120   filed 07/09/12   PageID.346 Page 1 of 2




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 2
                               UNITED STATES DISTRICT COURT
 3
                              EASTERN DISTRICT OF WASHINGTON
 4
 5    UNITED STATES OF AMERICA,                 )    No. 11-CR-02129-EFS-2
                                                )
 6                 Plaintiff,                   )    ORDER MODIFYING CONDITIONS
                                                )    OF RELEASE
 7    v.                                        )
                                                )    X     Motion Granted
 8    Bernardo Lopez Perez,                     )          (Ct. Rec. 115)
                                                )
 9                 Defendant.                   )
                                                )
10                                              )
                                                )
11
           IT IS ORDERED that the release of the Defendant is subject to the
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     following:
13
                                  Conditions of Release
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15   X     Defendant shall comply with previously ordered conditions of
           release.
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     X     The previously imposed conditions of release are modified as
17         follows:

18       1)GPS monitoring imposed in place of electronic home monitoring.
         2)Imposition of a curfew to correlate with employment hours.
19   Must be approved by the U.S. Pretrial Services Department.

20                SUBSTANCE ABUSE EVALUATION AND TREATMENT
       If Defendant is required to submit to a substance abuse
21   evaluation, inpatient or outpatient treatment, the following shall
     apply:
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       Defendant shall complete treatment indicated by an evaluation or
23   recommended by Pretrial Services and shall comply with all rules of
     a treatment program. Defendant shall be responsible for the cost of
24   testing, evaluation and treatment, unless the United States
     Probation Office should determine otherwise.     The United States
25   Probation Office shall also determine the time and place of testing
     and evaluation and the scope of treatment. If Defendant fails in
26   any way to comply or cooperate with the requirements and rules of a
     treatment program, Pretrial Services shall notify the court and the
27   U.S. Marshal, who will be directed to immediately arrest the
     Defendant.
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     ORDER SETTING CONDITIONS OF RELEASE             - 1
     Case 2:11-cr-02129-EFS    ECF No. 120   filed 07/09/12   PageID.347 Page 2 of 2




 1               HOME CONFINEMENT/ELECTRONIC/GPS MONITORING
     X (23) Defendant shall participate in one or more of the following
 2   home confinement program(s):
        X GPS Monitoring. The Defendant shall participate in a program
 3      of GPS confinement. The Defendant shall wear, at all times, a
        GPS device under the supervision of U.S. Probation. In the event
 4      the Defendant does not respond to GPS monitoring or cannot be
        found, the U.S. Probation Office shall forthwith notify the
 5      United States Marshals’ Service, who shall immediately find,
        arrest and detain the Defendant. The Defendant shall pay all or
 6      part of the cost of the program based upon ability to pay
        determined by the Pretrial Services Office.
 7      X Curfew. Defendant shall be restricted to his/her residence:
           X As directed by the Pretrial Services Office.
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       DATED: July 5, 2012
 9
                                   S/ James P. Hutton
10                                    JAMES P. HUTTON
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER SETTING CONDITIONS OF RELEASE             - 2
